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UCF:<>Z mh QWOZ<E.HFF :Lu

HMFMvIOZm" ._¢N ._ N.UUO.AOOO

_..>om_z__.m" _.N*~-mmm.mmmm \\®.W .&§S\.\§
§§ § §§ § §§ §§-§.§

row >ZDm_lmm o 1>_..0 >F.~.O ~ <<>mI_Zh.~.OZ. D.h
DICMMMFM ¢ 11>2»»::~._. » _lOZ_uOZ n I>J_m
UM_L_ZD o 1020 XOZO c .._.OX<D

ZMFUOENZM o M<Uzm<

m@g:wJ~ mv No:w

§§ dowd

Eo:. wang E. m§?
C.m. gwinn Oo=z § 35 moErQB UUEQ 03. Zn<< <oa».
C:x@3 mdm»@m Ooc§:ocw?
woo down mq@@r
202 <o~_r Zo<< dwon 3000~.

WQ §§ wash Q\He@o-:~.~§?w§. Qd..\_ §§ <. .>\~QE.Q §~3.
29 ~..~ w-n<-ow%~

503 tamm m§:~

wEm:mR 3 30 Oocn,m 533<33¢3_ 333ko 3.m“ 3 233 o: varm:. 03. 30
E.&EE, 33 330 330<3-3333003 moses 3 RQEWK ms ox~@:m»os E:: 3333 _@u NE w o».
E&s§.ww 330 3 m:m<<or Bo<o o~ 039.<<$@ 233 5 dmmuo:mo 3 503333:§
003333_§3@.

O: ,FEEQ w 3 v NE mv 50333~5~ mQ.<@3 Umw@:%=: mcca&:$aw:~ 335
<::od >sm<<@n U@~q@sw@m 333 Oo::HS_HBm AmOm Zo. NS 5 3a memos.* Cs32
mgm§_ 333 ow Q<: 500@350 535wa Emm:am¢m domcosw@ 3 U@w@:%smm
QQE:QB_HE@ 3m 330 on m@g.:mQ NF NE Q|E 335 335 3a 338 ow m@_.<mn@. EBZE
Bwn@o%c:< wonc@m$ §§ z wm Q<@s 3 336 5 <<Eor 3 msm<<@r Bo<m 3 gradime 233
33 H@wwosmo 3 U@w@s%z:qm 00:3333~35? ¢<Enr 2033 538 Emwsawww ~mmno:m@ 333 on
§w~or Ew No;. jim 3m EBZEJ@ mde 3£5£ § ms szsmmos o», 33@ 333:3@. ,_,r@
~@n:@£w3 @§@zmwoz <<E son swoon EJ~ 033 moro3z_o3 323 5 sam mosoz. Oocsmm_ §
Umw£&m§ rmm m333 332 UQWH&»R oo:m@s$ 3 3$ ox~m:mmos am 339

zam@@o&.c:< mcc . 3v

   

Eo:m& O. EB~B§ :

 

* 03 magch 7 we mv U@H.QEE: 3333 m 0030033 <meo: 03~ 50333§3 mcw@a:$:%i
335 <c:oum >sm<<@r U@~q@zm@m 333 OOE:QQ§BW AmOm Zo. N$.

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Eo:. wang E. m§s

non wozm%ms U. Oos_$~
AOEQQ o~q 50 >Qo§o< GQBB_
o». 90 mSH ow Z@<< <o~_©

